
Opinion for the court filed by Circuit Judge DYK. Opinion dissenting-in-part filed by Circuit Judge CLEVENGER.
DYK, Circuit Judge.
Vizio, Inc. and Amtran Technology Company, Ltd. (collectively, “Vizio”), and TPV Technology, Ltd., TPV International, Inc., Top Victory Electronics Company, Ltd., and Envision Peripherals, Inc. (collectively, “TPV”) appeal from the final determination of the International Trade Commission (“Commission”) that the importation and sale of certain digital television products violated section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337. The Commission issued a limited exclusion order and a cease and desist order. In the Matter of Certain Digital Televisions and Certain Products Containing Same and Methods of Using Same, Inv. No. 337-TA617 (U.S.I.T.C. Apr. 10, 2009) (“Final Determination”). The Commission’s action was based on its finding that the accused products infringed claims 1, 5, and 23 of U.S. Patent No. 6,115,074 (the “'074 patent”), and that the '074 patent was not invalid.
We affirm the Commission’s construction of the term “channel map information,” as well as the Commission’s determination that the '074 patent is not invalid as anticipated or obvious. Furthermore, we affirm the Commission’s construction of the term “identifying channel map information ... and assembling said identified information” in claims 1 and 23 as not precluding use of the Moving Picture Experts Group (“MPEG”) Program Map Table (“PMT”) and its determination that the '074 patent is infringed by the “legacy products.” However, we find the Commission erred in its conclusion that the claims do not require that the channel map information be capable of being used, see In the Matter of Certain Digital Televisions and Certain Products Containing Same and Methods of Using Same, Inv. No. 337-TA-617, slip op. at 49 (U.S.I.T.C. Nov. 17, 2008) (“Initial Determination”), and we accordingly reverse the Commission’s determination that the “work-around products” infringe.
Background
Funai Electric Company, Ltd. of Japan, and Funai Corporation of Rutherford, New Jersey (collectively, “Funai”) own the '074 *1333patent, entitled “System for Forming and Processing Program Map Information Suitable for Terrestrial, Cable or Satellite Broadcast.” The '074 patent relates to apparatuses and methods by which television decoder devices identify and assemble specific “channel map” information carried in an MPEG compatible datastream in order to decode a digital television user’s selected program in a digital transmission. '074 patent col.l 11.11-13.
In the digital television era, television networks broadcast programs by transmitting encoded streams of digitized data. Unlike in analog transmission, digital transmission allows for the transmission of multiple programs over one physical transmission channel (“PTC”). For example, the 6 megahertz broadcast bandwidth previously allocated to a single analog broadcast channel, such as Channel 13, may now be used to carry many digital programs on different channels and subchannels (for example, channels 13-1,13-2,13-3,13-4, and 13-5).
In the early 1990s, the MPEG set forth rules governing the compression and packetization of digital data for transmission and subsequent decoding. A “packet” is the basic unit of digital data transmission. Each television program has a set of video packets, audio packets, and data packets. Each of these sets of packets in a program constitutes an “elementary stream,” and the elementary streams of all the different programs on a broadcast channel are multiplexed together to form a single stream for transmission by the broadcaster — the MPEG transport stream. To achieve an MPEG-compliant digital broadcast, datastreams in the broadcast must carry information to identify and assemble the packets that constitute a program, so that the “decoder” can disaggregate the desired program information from the multiple programs transmitting on the same broadcast channel.
The MPEG-2 standard, developed by the MPEG and published in 1994, is the standard currently used for digital television broadcasts in the United States. The MPEG-2 standard defines a PMT, which is essentially a map instructing the decoder which packets need to be extracted for a given program. The PMT includes a number of different data fields, including: 1) the “program number,” a unique sixteen-digit number associated with a particular television program, 2) the elementary packet identifier (“elementaryJPID”), which defines the packets that constitute an elementary stream, 3) a “stream_type” identifier that identifies the type of data carried by the packet (such as audio or video), and 4) the Program Clock Reference packet identifier (“PCRJPID”), which contains timing information that the decoder needs to coordinate the various content streams in time. A broadcaster sends the PMT scattered throughout the transport stream. The prior art systems operating under the MPEG-2 standard relied on the MPEG PMT for information critical to decoding a program.
In connection with the MPEG-2 standard, the American Television System Committee (“ATSC”) published several standards that added additional layers of information to facilitate decoding of the MPEG transport stream, namely the A/55 and A/56 standards. These standards were apparently not entirely satisfactory, and were eventually replaced by another standard, the A/65 standard.
The large quantity of information transmitted in digital broadcasts pursuant to the MPEG-2 standard and the use of the MPEG PMT for decoding resulted in a delay in the acquisition of a particular program. Receivers were forced to wait to receive the PMT data each time before the decoders could be configured to decode a program. This phenomenon is known as “channel latency.” The A/55 and A/56 *1334standards were not addressed to this problem. The inventors of the '074 patent sought to address the problem by developing a system that identified and assembled a “channel map” that replicated from the MPEG PMT all of the information necessary to identify and acquire a program being transmitted on a selected subchannel. '074 patent, Abstract. By requiring the replication and storage of this information instead of waiting to receive the MPEG PMT each time as it appeared in the datastream, “the time required by [the] decoder ... to identify and acquire a program being transmitted on [a] selected sub-channel ... is advantageously reduced.” Id. col.7 11.40-42.
At the suggestion of the lead inventor of the '074 patent and after the '074 provisional patent application was filed, the ATSC adopted the A/65 Standard, which incorporated the requirement of a channel map, or Virtual Channel Table (“VCT”), the replicated channel map being a central feature of the '074 patent. That standard replicates the MPEG program number, PCR_PID, stream types, and elementary PIDs that are carried in the MPEG PMT. The A/65 Standard requires that broadcast signals carry a VCT. The Federal Communications Commission (“FCC”) mandated that, effective May 29, 2008, transmission of digital broadcast television signals comply with the ATSC A/65 standard. 47 C.F.R. § 73.682(d). Furthermore, beginning on March 1, 2007, all digital televisions (“DTVs”) sold in the United States must be capable of receiving broadcasts compliant with the ATSC A/65 Standard. See 47 C.F.R. § 15.117(a), (b), (h), (i).
The asserted claims of the '074 patent relate to the replication of this “channel map information.” Claim 1 provides:
1. Apparatus for decoding a datastream of MPEG compatible packetized program information containing program map information to provide decoded program data, comprising:
means for identifying channel map information conveyed within said packetized program information; and
means for assembling said identified information to form a channel map for identifying said individual packetized datastreams constituting said program, wherein said channel map information replicates information
conveyed in said MPEG compatible program map information and said replicated information associates a broadcast channel with packet identifiers used to identify individual packetized datastreams that constitute a program transmitted on said broadcast channel.
'074 patent col.ll ll.27-42. Claim 23 recites “[a] method for decoding MPEG compatible packetized program information,” comprising the steps of “identifying channel map information” and “assembling said identified information to form channel map suitable for use in identifying said individual packetized datastreams constituting said program.” Id. col. 14, 11.9-17. Claim 5, which depends from claim 1, incorporates a “means for tuning to receive said program transmitted on said broadcast channel using said channel map information for acquisition of said program.” Id. col.ll 11.56-58.
On October 15, 2007, Funai filed its complaint alleging that fourteen respondents violated 19 U.S.C. § 1337 through importation or sale of certain digital televisions that infringed claims 1, 4, 5, 8, 9, and 23 of the '074 patent, and various claims of U.S. Patent No. 5,329,369 (the “'369 patent”).1 *1335Funai argued that the accused televisions infringed due to incorporation of a chip manufactured by a third party that processes information received in the ATSCcompliant broadcast signal. After an evidentiary hearing, the Administrative Law Judge (“ALJ”) construed the term “channel map information” to include, at a minimum, the program number, PCR-PID, stream-types, and elementary_PID information, concluding that the “evidence of record shows that in order for the claimed apparatus and method to operate under an MPEG standard, one must use certain PMT information.” Initial Determination, slip op. at 41. The ALJ considered whether the inventors clearly disavowed any use of the PMT information during prosecution, and concluded that they did not. Id. at 46. The ALJ also held that the language of claims 1 and 23 was limited to “identifying” and “assembling” channel map information to form a channel map, and did not require actual use of the channel map once created. Id. at 49. The ALJ furthermore concluded that simply receiving and storing the YCT was sufficient to satisfy the requirements of claims 1 and 23. See id. at 61.
The ALJ also considered respondents’ argument that certain DTVs that included recent design changes did not infringe the '074 patent. These “work-around products,” in contrast to the “legacy” products that appellants were importing when Funai first filed its complaint, use third-party chips having a software modification that “skipfped] over” parts of the VCT and left parts of the VCT in transmission (encoded) format, thus preventing its use. The ALJ concluded that these “work-around” products nonetheless infringed under its claim construction.
The ALJ concluded that respondents directly infringed claims 1 and 5 of the '074 patent,2 and induced infringement of claim 23 of the '074 patent. See Initial Determination, slip op. at 61-63. The ALJ also held claims 1, 5, and 23 of the '074 patent to be valid and enforceable, rejecting respondents’ contention that the asserted claims were invalid as anticipated and obvious. Id. at 76.
On April 10, 2009, the ITC issued a Final Determination, in which it in large part affirmed the ALJ’s findings of infringement and validity, and accepted the ALJ’s recommendations of a limited exclusion order and cease-and-desist orders. In its partial review, the Commission had asked the parties to address specific questions regarding direct infringement by virtue of testing activities in the United States,3 as well as induced infringement of claim 23 of the '074 patent. See Final Determination, slip op. at 3. All other findings of fact and conclusions of law made in the Initial Determination were adopted. Id. at 3, 19. The ITC rejected the respondents’ contention regarding the work-around products, stating that “Respondents’ position that its design change leads to noninfringement ... relied primarily on a claim construction of ‘suitable for use’ that is clearly incorrect.” Id. at 8-9. Furthermore, the Commission rejected respondents’ contention that they could not infringe the '074 patent because the work-around products were required to use the MPEG PMT, and the respondents’ contention that the inventors had dis*1336claimed devices and methods that utilized the PMT. The Commission’s determination became final on June 10, 2009, at the conclusion of the sixty-day presidential review period. See 19 U.S.C. § 1337(j)(4). An appeal to this court was timely filed, and we have jurisdiction under 28 U.S.C. § 1295(a)(6).
After oral argument, we requested supplemental briefing, including briefing on the issue of whether claims 1 and 23 of the '074 patent are properly construed so that the claims are infringed even if the accused product has the ability to use only some, but not all, of the VCT data.
Discussion
We review the Commission’s final determination of a violation of section 337 under the standards of the Administrative Procedure Act (“APA”). See 19 U.S.C. § 1337(c). Under the APA, this court reviews the Commission’s legal determinations de novo, and its factual findings for substantial evidence. See 5 U.S.C. § 706(2)(A), (E); Honeywell Int’l, Inc. v. Int’l Trade Comm’n, 341 F.3d 1332, 1338 (Fed.Cir.2003). Claim construction is an issue of law and is subject to de novo review. See Cybor Corp. v. FAS Techs., Inc., 138 F.3d 1448, 1451 (Fed.Cir.1998) (en banc).
I Claim Construction
As described above, the problem addressed by the patent is the issue of channel latency. See '074 patent, col.l ll.42-67. The object of the invention is to accelerate the decoding process through a system that identifies and assembles a “channel map” that replicates from the MPEG-2 PMT all of the information necessary to identify and acquire a program. By requiring the replication of this information instead of waiting to receive the PMT as it appears in the datastream, “the time required by [the] decoder ... to identify and acquire a program being transmitted on [a] selected sub-channel ... is advantageously reduced.” '074 patent col.7 11.40— 42.
Resolution of the issues of infringement and invalidity requires that we address three issues of claim construction at the outset. First, we address the construction of “channel map information.” We must determine whether the “channel map information” must replicate the four data fields constituting the program number, PCR-PID, elementary_PID, and stream_type data from the MPEG PMT. The Commission found that the channel map must replicate these four data fields. Funai advocates the Commission’s reading of the claims in order to avoid invalidity on the basis of anticipation and obviousness, whereas appellants advocate a broader reading of the claims so as to support their invalidity arguments.
The '074 patent does not define the term “channel map information,” nor does this term appear to have any ordinary English meaning. To locate a user’s selected program, claims 1 and 23 require identification and assembly of channel map information, and require that
said channel map information replicates information conveyed in said MPEG compatible program map information and said replicated information associates a broadcast channel with packet identifiers used to identify individual packetized datastreams that constitute a program transmitted on said broadcast channel.
'074 patent col.ll 11.36-41, col.14 11.19-24 (emphases added). Funai argues that the claim language here references “MPEG compatible program map information,” and that “channel map information” must be construed with reference to the MPEG-2 standard. Appellants challenge the Commission’s reliance on the MPEG-2 standard, and argue that there are several *1337MPEG standards and that the '074 patent does not expressly limit itself to the MPEG-2 standard. In appellants’ view, the claims only require that packet identifiers (or elementary_PID), one of the four data fields, be part of the channel map.
The claim language referring to “MPEG compatible program map information” must refer to the MPEG-2 standard. As the Commission noted, the '074 patent appears to define the term “MPEG standard” as the MPEG-2 standard. See '074 patent col.l 11.18-21 (“One such widely adopted standard is the MPEG2 ... image encoding standard, hereinafter referred to as the ‘MPEG standard.’ ”). The MPEG-2 standard is specifically referenced in numerous places in the specification, and the specification makes no reference to any other MPEG standard. See, e.g., id. col.1 11.18-25, col.2 11.55-59, col.7 11.49-57. Appellants’ own expert, Dr. Wechselberger, acknowledged that the multiple references in the '074 patent to the “MPEG standard” refer to the MPEG-2 standard. Moreover, we agree with the Commission that the fact that the MPEG-2 standard was the standard used for digital television broadcasts in the United States at the time of the filing of the patent itself suggests that one of ordinary skill in the art would understand the disputed claim terms of the '074 patent to refer to the MPEG-2 standard. See LG Elecs., Inc. v. Bizcom Elecs., Inc., 453 F.3d 1364, 1375 (Fed.Cir. 2006) (“Although we have concluded that the patentee did not expressly adopt the ... industry standard, that standard remains relevant in determining the meaning of the claim term to one of ordinary skill in the art at the time the patent application was filed, and it is treated as intrinsic evidence for claim construction purposes .... ”), rev’d on other grounds, Quanta Computer, Inc. v. LG Elecs., Inc., 553 U.S. 617, 128 S.Ct. 2109, 170 L.Ed.2d 996 (2008).
Thus, we agree with the Commission that the claims require associating the program with all of the identifiers conveyed in the MPEG-2 program map information that are necessary to “constitute a program.” '074 patent col.ll 11.36-41, col.14 11.19-24. At the evidentiary hearing, the expert witnesses agreed that the MPEG-2 standard requires, at a minimum, four data fields — the program number, PCRJPID, stream type, and elementary_PID data— in order to “identify individual packetized data streams that constitute a program.” See App. 28,438-39, 28,467-68, 31,841-43, 32,431.4
Appellants cryptically argue that dependent claims 2 and 10 demonstrate that the channel map information in independent claim 1 does not include all four data fields. Claim 2 recites that the “channel map information further associates an individual program with a corresponding program clock reference (PCR) value.” '074 patent col.ll 11.42-45. Appellants state that “the presence of a dependent claim that adds a particular limitation gives rise to the presumption that the limitation in question is not present in the independent claim.” Appellants’ Br. 43 (quoting Phillips v. AWH Corp-, 415 F.3d 1303, 1314 (Fed.Cir.2005)) (en banc). Thus, because dependent claim 2 adds the limitation that the channel map information associates an individual program with a PCR value, the presumption is that independent claim 1 must not require “channel map information” to include the PCR value. Appellants assume that the PCR value and the PCR_PID are the same. However, the Commission points out that the PCR value (referenced in claim 2) and the PCR-PID are not the same. See Initial Determina*1338tion, slip op. at 42 (“[T]he PCR_ID field constitutes a ‘packet identifier.’ The Program Clock Reference values identified by the PCR-PID constitute a datastream of program specific information that relates to a particular program.”). The reply brief does not disagree. We conclude that claim 2 states an additional limitation beyond the claim limitations of independent claim 1.
Likewise, claim 10, which depends from claim 1, requires that the
channel map information further associates a datastream type indicator
with an individual packetized datastream, said datastream type indicator identifying whether said individual packetized datastream contains at least one of a) audio information, and b) video information.
Id. col.ll 12.10-15 (emphasis added). Appellants argue that because dependent claim 10 adds the limitation that the channel map information associates an individual program with a datastream type indicator, the presumption must be that independent claim 1 does not require “channel map information” to include the stream_type identifier. However, claim 10 merely adds an additional claim limitation, requiring the apparatus to identify whether the datastream includes audio or video information. Neither of these claim differentiation arguments undermines the Commission’s construction of the claimed channel map information. We conclude that the Commission properly construed “channel map information” to include the program number, PCRJPID, stream_type, and elementary_PID data.
The second issue of claim construction is whether the claims preclude the use of information other than channel map information, and in particular whether they preclude the use of the MPEG PMT (i.e., the data used for decoding in the prior art). Appellants argue that the language “identifying channel map information ... and assembling said identified information” in claims 1 and 23, '074 patent col.ll 11.31-33, col.14 11.12-14, excludes use of the MPEG PMT, because the patentees disavowed any and all use of the PMT during the prosecution of the '074 patent. The Commission found no disavowal in either the '074 patent or the prosecution history. We agree with the Commission that there was no broad disclaimer of any and all use of the PMT. The inventions disclaimed only systems that require the use of the MPEG PMT.
Appellants cite first to the patent specification in support of their disavowal argument. For example, the specification describes how the processor receives a selected subchannel “without acquiring and using the Program Map Table (PMT) information in the MPEG compatible transport stream.” '074 patent eol.7 11.49-53. This, according to appellants, is sufficient to constitute an unambiguous disavowal of any and all use of the PMT. However, it appears from the rest of the paragraph that the invention merely enables the system to acquire the program without waiting for the PMT in the MPEG transport stream:
However, by incorporating the [channel map information], the time required by decoder 100 to identify and acquire a program being transmitted on selected subchannel SC is advantageously reduced. This is because the [channel map information] provide[s] formatted and linked information sufficient to enable processor 60 to directly configure and tune the system .... This enables processor 60 to configure the system ... to receive the selected sub-channel ... without acquiring and using the Program Map Table (PMT) information in the MPEG compatible transport stream
*1339Id. col.7 11.39-45 (emphases added). As the cited language suggests, the patentees were not disclaiming any and all use of the PMT, but rather, explaining the benefits of the patented invention over the prior art, namely, that it does not require the use of the MPEG PMT.5
The prosecution history also does not evidence a disclaimer of all use of the PMT. During the prosecution of the '074 patent, the examiner rejected all the asserted claims as anticipated by U.S. Patent No. 5,600,378 (“Wasilewski”), stating that Wasilewski discloses “channel map data [that] replicates data conveyed in the MPEG program map table ... to indicate to the viewer which programs correspond to which channels.” App. 41,325. To overcome the examiner’s rejection, patentees argued that the amended claims were not anticipated because Wasilewski
stat[es] that the “PMT ... (is) needed to demultiplex the service components of the selected program.” In contrast, the channel map of the claim 1 system replicates the “packet identifiers used to identify individual packetized datastreams that constitute a program” in a “channel map” and consequently in the claim 1 system the PMT is NOT needed to demultiplex program components since the “channel map” contains the required information.
App. 41,376 (emphasis in original). In stating that the PMT is not needed to demultiplex program components, the inventors were distinguishing the Wasilewski system by making clear that the claimed invention was not dependent on the MPEG PMT, but there is no basis for concluding that the patentees intended a sweeping disclaimer of any and all use of the MPEG PMT. Indeed, as the Commission properly concluded: “Far from disavowing the acquisition or use of the PMT, the inventors noted that an advantage of the invention is dispensing with the necessity at this stage of the operation of going back to the PMT in the MPEG datastream.” Initial Determination, slip op. at 46. These statements made in order to obtain claim allowance are sufficiently clear to constitute a disclaimer of devices (or methods) in which use of the MPEG PMT is required to decode.6 However, we agree with the Commission that nothing in the above-quoted passage from the prosecution history suggests an intent to disclaim any and all use of the PMT.
The third issue of claim construction is whether the claims require that the device and method be capable of utilizing the channel map information. This relates to the interpretation of the terms “for identifying” and “suitable for use in identifying” in claims 1 and 23. Claim 1 requires a “means for assembling said identified information to form a channel map for identifying said individual packetized datastreams constituting said program.” '074 patent col.ll 11.33-35 (emphasis added). Similarly, claim 23 encompasses a method for decoding MPEG compatible packetized program information, and re*1340quires assembly of channel map information to “form a channel map suitable for use in identifying said individual packetized datastreams constituting [a] program.” Id. col.14 11.15-17 (emphasis added). The Commission concluded that claims 1 and 23 merely require the identification, assembly, and storage of the channel map information. Initial Determination, slip op. at 60-61. Thus, according to the Commission’s implied construction, once the VCT is transmitted and stored in the DTV processor’s memory, it is “necessarily ... suitable for use as a channel map,” id. at 58, even if it cannot in fact be used for that purpose. Appellants argue that the Commission erred, and that the claim language requires more than the mere receipt and storage of the VCT in the DTV’s dynamic random access memory (“DRAM”); the channel map information must also be actually capable of being used for identifying the desired program.7 We agree.
The language “for identifying” and “suitable for use” on their face suggest that channel map information must actually be capable of being used for the claimed function.8 Additionally, the preamble of claim 1 is addressed to an “fajpparatus for decoding a datastream of MPEG compatible packetized program information containing program map information to provide decoded program data,” '074 patent col.ll 11.27-29 (emphasis added), while the preamble of claim 23 encompasses “[a] method for decoding MPEG compatible packetized program information containing program map information to provide decoded program data,” id. col.14 11.9-11 (emphasis added). In general, a preamble limits the invention if it recites essential structure or steps, or if it is “necessary to give life, meaning, and vitality” to the claim. Catalina Mktg. Int’l Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed.Cir.2002) (quoting Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed.Cir.1999)). A preamble is not limiting “where a patentee defines a structurally complete invention in the claim body and uses the preamble only to state a purpose or intended use for the invention.” Rowe v. Dror, 112 F.3d 473, 478 (Fed.Cir.1997).
Here, we conclude that the “for decoding” language in the preamble of claims 1 and 23 is properly construed as a claim limitation, and not merely a statement of purpose or intended use for the invention, because “decoding” is the essence or a fundamental characteristic of the claimed invention. See Poly-Amer., L.P. v. GSE *1341Lining Tech., Inc., 383 F.3d 1303, 1310 (Fed.Cir.2004); Jansen v. Rexall Sundown, Inc., 342 F.3d 1329, 1333 (Fed.Cir.2003); Griffin v. Bertina, 285 F.3d 1029, 1033 (Fed.Cir.2002); Manning v. Paradis, 296 F.3d 1098, 1103 (Fed.Cir.2002). In Griffin v. Bertina, we construed language in the preamble of the claim describing “[a] method for diagnosing an increased risk for thrombosis,” 285 F.3d at 1031, and concluded that “[diagnosis is ... the essence of this invention; its appearance in the count gives ‘life and meaning’ to the manipulative steps,” id. at 1033. We noted that without the invention’s intended purpose of diagnosis, “obtaining nucleic acid and assaying for a point mutation alone are merely academic exercises.” Id.9 Similarly, here the apparatus of claim 1 and the method of claim 23 would have little meaning without the intended objective of decoding. The decoding requirement of the preamble does not “only add[ ] an intended use,” Marrin v. Griffin, 599 F.3d 1290, 1294 (Fed.Cir.2010), but rather, states an essential limitation to the claims.
Moreover, a construction that required only receipt and storage of the channel map information, and not the ability to decode using that information, could effectively broaden the claims to cover all devices and methods of decoding an A/65 compliant digital broadcast. FCC regulations require the transmission of DTV signals to comply with the ATSC A/65 Standard, 47 C.F.R. § 73.682(d), and require that all DTVs sold in the United States be capable of “adequately receiving” broadcasts compliant with the ATSC A/65 Standard, see 47 C.F.R. § 15.117(a), (b), (h), (i). Under the Commission’s interpretation, mere compliance with the FCC’s requirements could result in infringement. There is no indication in the specification or prosecution history that the claims reach all receivers that are capable of receiving and storing channel map information but are incapable of using it. Moreover, an interpretation that did not require the ability to use the channel map information would be contrary to the limited disclaimer appearing in the specification and prosecution history which, as discussed above, requires the ability to decode without utilizing PMT information. Under the Commission’s construction, a decoding apparatus that required use of the PMT- — -because it was not capable of using the claimed channel map information — would nonetheless infringe. Thus, we conclude that the apparatus of claim 1 and the method of claim 23 must actually be capable of using the channel map information to decode the datastream of MPEG program information.
Appellee and intervenor argue that even if the apparatus or method must use the channel map for decoding, only some of the data fields in the VCT channel map need to be “suitable for use,” “for identifying,” or “for decoding.” In other words, appellee and intervenor argue that not all of the channel map information needs to be “suitable for use,” so long as some of the data is “suitable for use.” We think this interpretation is untenable. The appellee’s attempt to parse a distinction between the “ ‘channel map’ as a whole” and “channel map information” makes no sense given the context of the invention. All four minimum data components in the channel map are required to be suitable for use for decoding, because the very purpose of the '074 patent is to replicate all of the “program map information” from the MPEG PMT necessary “to identify and acquire a program,” thus reducing the time required for the decoder to tune into a program.
*1342Furthermore, intervenor argues that the approach outlined here renders superfluous dependent claims 5 and 7. We disagree, and find these claims to be perfectly compatible with the proposed construction of claims 1 and 23. Claim 5 adds a “means for tuning to receive said program transmitted on said broadcast channel,” '074 patent col.11 11.56-57, and claim 7 adds the requirement that the decoder acquires said program “in response to User entry of said first and second identification numbers,” id. col.ll 11.66-67. Claims 5 and 7 are not rendered superfluous, because they impose additional limitations not encompassed within claims 1 and 23.
Thus, we conclude that the Commission properly construed the phrase “channel map information” to require replication of the program number, PCRJPID, elementary_PID, and stream-type data from the MPEG PMT. Additionally, the Commission correctly concluded that neither the language of the specification nor the prosecution history indicated the patentee’s intent to disclaim any and all use of the PMT, although the patentee did disclaim devices (and methods) in which use of the MPEG PMT is required to decode. Finally, we conclude that the claimed apparatus or method must be capable of utilizing the program number, PCR-PID, elementary_PID, and stream-type data to decode the MPEG compatible datastream, and that mere receipt and storage of the channel map is insufficient to satisfy the limitations of claims 1 and 23.
II Validity
We now turn to the validity of the asserted claims, which the Commission found to be not invalid as anticipated by the A/55 standard nor obvious in view of the A/55 standard combined with U.S. Patent No. 5,982,411 (the “Eyer patent”). Initial Determination, slip op. at 68-70. Obviousness is a question of law based on underlying factual inquiries, and thus we review the Commission’s ultimate determination de novo and factual determinations for substantial evidence. See Crocs Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1308 (Fed.Cir.2010). Whether a prior art reference anticipates a patent claim is a question of fact, which we review for substantial evidence. Linear Tech. Corp. v. Int’l Trade Comm’n, 566 F.3d 1049, 1066 (Fed. Cir.2009).
A Anticipation
The Commission held that the '074 patent is not anticipated by the A/55 standard, because the standard does not disclose replication of the necessary channel map information identified in the asserted independent claims of the '074 patent. Initial Determination, slip op. at 68. The Commission found that although the A/55 standard discloses a “channel number,” it cannot be the same as the MPEG program number, because it has a “different syntax.” Id. The Commission also found that although the A/55 Standard discloses “time_base_PID,” this is not the same as the PCR_PID. Id. An anticipatory reference must show all of the limitations of the claims arranged or combined in the same way as recited in the claims. Net Money-IN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1370 (Fed.Cir.2008). Thus, the A/55 standard does not include two fields that are necessary to the claimed channel map. Therefore, there is no anticipation.
B Obviousness
The Commission also held that the '074 was not obvious in light of the A/55 standard in combination with the Eyer patent.10 The Commission found that all of the elements of the claimed invention were *1343not disclosed in the prior art references. Initial Determination, slip op. at 69. Moreover, the Commission concluded, appellants failed to present sufficient evidence that one of ordinary skill would have known to replicate and place in a separate table all of the information necessary to locate individual packetized datastreams as required by the asserted claims of the '074 patent. Id.
The Eyer patent teaches the grouping of a plurality of broadcast programming channels, thus allowing a television viewer to easily navigate programs grouped according to a common service provider or other grouping criteria. Eyer patent, Abstract. The Commission concluded that Eyer does not teach replication of the PMT information in a channel map. Initial Determination, slip op. at 69. We agree; nothing in the Eyer patent directly discloses any replication of MPEG PMT data. At best, the Eyer patent incorporates by reference the A/56 standard, which the Commission found may teach “at most” replication of the MPEG program number. See id. Furthermore, as discussed above, the A/55 standard does not disclose replication of either the MPEG program number or the PCRJPID from the MPEG PMT. Thus, none of the prior art references cited by Yizio, alone or in combination, discloses replication of the identifiers for all of the MPEG program map information required by the claims.
Thus, the Commission correctly concluded that appellants failed to sustain their burden of proving that the asserted claims are invalid.
Ill Infringement
Appellants do not challenge the Commission’s finding of infringement by the legacy products under the claim construction we have adopted. We therefore affirm the finding of infringement of claims 1, 5, and 23 as to the legacy products.
However, we conclude that under our claim construction described above, the work-around products cannot infringe claims 1, 5, and 23; because regardless of which data fields they use from the VCT, it is conceded that they do not convert all of the channel map information from the VCT into useable format.11 Thus, the work-around products do not satisfy the “suitable for use,” “for identifying,” or “for decoding” limitations.12
*1344We affirm the Commission’s finding of infringement as to the legacy products, reverse the Commission’s determination of infringement as to the “work-around” products, and remand for an order consistent with this opinion.
AFFIRMED-IN-PART, REVERSED-IN-PART, and REMANDED.
Costs
No costs.

. During the investigation, Funai withdrew its assertion of claims 4, 8, and 9 of the '074 *1335patent; the claims of the '369 patent are not at issue in this appeal.


. The investigation was terminated with respect to numerous respondents who settled with Funai.


. The ITC reversed the ALJ’s finding of direct infringement via product testing as to TPV, but affirmed it as to Vizio. See Final Determination, slip op. at 6. The issue of infringement of the '074 patent through product testing is not raised on appeal.


. The ALJ also examined the text of the MPEG-2 standard itself, and concluded the same. See Initial Determination, slip op. at 44.


. Indeed, intervenor’s brief appears to concede this point: "Far from supporting a disclaimer, the statements in the specification and prosecution history simply note that an advantage of the invention is dispensing with the necessity of using the PMT.” Intervenor's Br. 22.


. See Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1324 (Fed.Cir.2003) ("[W]here the patentee has unequivocally disavowed a certain meaning to obtain his patent, the doctrine of prosecution disclaimer attaches and narrows the ordinary meaning of the claim congruent with the scope of the surrender.”); Standard Oil Co. v. Am. Cyanamid Co., 774 F.2d 448, 452 (Fed.Cir.1985) ("[T]he prosecution history (or file wrapper) limits the interpretation of claims -so as to exclude any interpretation that may have been disclaimed or disavowed during prosecution in order to obtain claim allowance.”).


. The dissent suggests that this issue was waived because Vizio did not raise this as an issue of claim construction before the Commission. See Dissenting Op. at 2. However, the issue of whether the "for identifying" limitation of claim 1 and the "suitable for use in identifying” limitation of claim 23 were satisfied was addressed by the full Commission as an issue of claim construction. See Final Determination, slip op. at 8-9 ("Respondents’ position that its design change leads to non-infringement, however, relied primarily on a claim construction of ‘suitable for use' that is clearly incorrect.”) (emphasis added). In any event, the fact that the parties and the Commission to some extent chose to address this issue as one of infringement rather than claim construction can hardly result in a waiver.


. See, e.g., Revolution Eyewear, Inc. v. Aspex Eyewear, 563 F.3d 1358, 1369-70 (Fed.Cir.2009) (eyeglass device infringed because it satisfied limitation that the primary frame be "capable of engaging” magnetic members from the top, because it was actually capable of doing so); Key Pharms. v. Hercon Labs. Corp., 161 F.3d 709, 712, 718 (Fed.Cir.1998) (affirming judgment of noninfringement where claim required an adhesive layer "capable of retaining dispersed therein sufficient pharmaceutically active drug ... to deliver to the skin a pharmaceutically effective amount of said pharmaceutically active drug over a 24-hour time interval,” and allegedly infringing product was not capable of delivering the pharmaceutically effective amount).


. See also Poly-Amer., 383 F.3d at 1310 (holding that the preamble phrase “blown-film” constituted a claim limitation where the inventor considered this feature a central characteristic of the claimed invention).


. The ALJ considered the question of obviousness in light of Eyer, the A/55 Standard, and the A/56 Standard. Initial Determina*1343tion, slip op. at 68. However, on appeal appellants raise only the issue of obviousness in light of the Eyer patent and the A/55 Standard.


. The dissent argues that we should not reach the merits of the work-around infringement argument because the ALJ stated that this argument "could be stricken.” See Initial Determination, slip op. at 60. However, that aspect of the ALJ's decision was affirmed on the merits by the full Commission, and the Commission did not hold or suggest that the issue had been waived. See Final Determination, slip op. at 8-9. We cannot affirm on the ground of waiver, for we must adhere to the long-established principle of administrative law establishing that "[t]he grounds upon which an administrative order must be judged are those upon which the record discloses that its action was based.” Sec. &amp; Exch. Comm’n v. Chenery Corp., 318 U.S. 80, 87, 63 S.Ct. 454, 87 L.Ed. 626 (1943). Here the question of waiver implicates agency discretion, and we cannot properly substitute our decision on a discretionary issue for that of the Commission. See Interstate Commerce Comm’n v. Bhd. of Locomotive Eng'rs, 482 U.S. 270, 283, 107 S.Ct. 2360, 96 L.Ed.2d 222 (1987) (A court "may not affirm on a basis containing any element of discretion ... that is not the basis the agency used, since that would remove the discretionary judgment from the agency to the court.”). Even if the ALJ’s decision had been the final decision, the statement that he "could” have rested the decision on a waiver does not provide an alternative ground for a decision where it is clear that the ALJ did not rely on that ground.


. The dissent suggests that a remand is required to determine whether the software *1344modification actually prevents the use of the channel map by the work-around products. However, neither the Commission nor the Intervenors sought a remand; nor did they dispute that the work-around products do not infringe if claims 1 and 23 are construed as requiring that the four data fields in the channel map be capable of being used.

